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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                NORTHERN DIVISION

PANDORA JEWELRY, LLC
                                                   Case No. 1:21-cv-00172-SAG

               Plaintiff,

       v.

JOHN DOES 1-10

               Defendants.



             PLAINTIFF’S MOTION FOR LEAVE TO SERVE THIRD-PARTY
               SUBPOENA PRIOR TO A RULE 26(f) CONFERENCE AND
                    INCORPORATED MEMORANDUM OF LAW

       Pursuant to Fed. R. Civ. P. 26(d)(1), Plaintiff PANDORA Jewelry, LLC. (“PANDORA” or

“Plaintiff”) moves for entry of an order granting it leave to serve a third-party subpoena on non-

party Woot LLC prior to a Rule 26(f) conference (the “Motion”), and submits the following

memorandum in support.

                                                    Respectfully submitted,

                                               /s/ Michael E. Blumenfeld
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I.     INTRODUCTION

       Plaintiff seeks leave to serve a limited, immediate subpoena on non-party Woot LLC

(“Woot”) so that Plaintiff may learn Defendants’ true identities.1 Plaintiff is suing the John Doe

Defendant(s) for breaching contracts that Defendants had with PANDORA.             (Doc. No. 1.)

Defendants are franchisees and retailers (“PANDORA Dealers”), who all signed agreements with

PANDORA (“PANDORA Contracts”). (Id. at ¶ 10.) As part of the PANDORA Contracts, Defendants

are prohibited from selling PANDORA products to persons or entities that are not end-users but

instead intend to resell the PANDORA products (“Unauthorized Resellers”), a practice known as

“product diversion.” (Id. at ¶ 13.) Defendants have explicitly agreed not to resell PANDORA

products to Unauthorized Resellers, but have done so in breach of their Contracts. (Id.at ¶¶ 14-

19.) Specifically, Defendants have sold a significant quantity to Woot, which in turn sells

PANDORA products on www.woot.com and as a third-party seller on Amazon.com.2 (Id. at ¶¶

22, 24.)

       Because Defendants sell PANDORA products directly to Unauthorized Resellers like

Woot, Plaintiff does not know which PANDORA Dealers are supplying the Unauthorized

Resellers and breaching the PANDORA Contracts.        (Doc. No. 1 at ¶¶ 25-27, 32.) Further,

Defendants go to great lengths to hide identities. (Id. at ¶ 27.) While Plaintiff has been able to

identify some of the PANDORA Dealers diverting products and has revoked their status as PANDORA

Dealers, one or more appear to be continuing to supply products to Unauthorized Resellers, either

by obtaining product from other PANDORA Dealers or by liquidating their own existing stock. (Id.

at ¶ 31.) Moreover, the identified PANDORA Dealers have refused to disclose to whom they have


1
 The proposed subpoena is attached as Exhibit 1.
2
 Woot’s Amazon storefront is available here:
https://www.amazon.com/s?me=A1KWJVS57NX03I&marketplaceID=ATVPDKIKX0DER. Per Woot.com,
Woot.com is operated by Woot Services LLC. Products on Woot.com are sold by Woot LLC.


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supplied products. (Id.at ¶ 32.) Accordingly, Woot necessarily maintains certain identifying

information related to its suppliers, and it is the only remaining source of this information to allow

PANDORA to identify each Defendant’s true name and address.

        Plaintiff seeks leave of Court to serve a Rule 45 subpoena on Woot, which will seek the

contact information and user information of the Defendant(s) supplying Woot with PANDORA

products in breach of the Defendants’ Contracts.3 The subpoena is narrowly tailored to address

only PANDORA products, as opposed to any other brands Woot may source and sell, and is limited

in time to December 2019 to present. Plaintiff will only use this information to prosecute the

claims made in its Complaint. Without this information, Plaintiff cannot serve the Defendants

nor pursue this lawsuit to protect its brand and enforce its contractual agreements.

II.     ARGUMENT

        Pursuant to Rule 26(d)(1), except for circumstances not applicable here, a party requires

a court order to propound discovery in advance of a Rule 26(f) conference. Such an order “should

be” issued “[w]hen a plaintiff seeks to learn the identities of unknown defendants through pre-

service subpoenas under Rule 45 of the Federal Rules of Civil Procedure…unless it is clear that

discovery would not uncover the identities, or that the complaint would be dismissed on other

grounds.” Nu Image, Inc. v. Does 1-4, Civil Action No. DKC-11-cv-02736, 2011 U.S. Dist.

LEXIS 169524, at *3 (D. Md. Nov. 30, 2011)(internal quotations and citations omitted).

        Although John Doe actions are not favored, the Fourth Circuit has explained that they are

appropriate “when the identity of the alleged defendant is not known at the time the complaint is




3
  The information sought through discovery includes “actual first and last names of the operators or managers of the
Supplier, along with any corresponding Amazon seller names or MerchantIDs, if any; corporate entity names and
contact persons within the entities if associated with corporations; email addresses; physical addresses; telephone,
mobile, or fax numbers and any other identifying information associated with the Supplier” as well as any prior
information related to the same. See Ex 1.


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filed and the plaintiff is likely to be able to identify the defendant after further discovery.” Paulinus

Chidi Njoku v. Unknown Special Unit Staff, No. 99-7644, 2000 U.S. App. LEXIS 15695, at *2

(4th Cir. July 7, 2000). Thus, if a defendant’s true identity can be “discovered through discovery

or intervention of the court,” such a suit should be permitted. Schiff v. Kennedy, 691 F.2d 196,

198 (4th Cir. 1982) (vacating district court’s dismissal of a John Doe complaint when it was based

on the premise that the Fourth Circuit does not recognize such suits.)

        In some circumstances, “the identity of alleged defendants will not be known prior to the

filing of a complaint.” Gillespie v. Civiletti, 629 F.2d 637, 642 (9th Cir. 1980). In such

circumstances, “the plaintiff should be given an opportunity, through discovery, to identify the

unknown defendants, unless it is clear that discovery would not uncover the identities, or that the

complaint would be dismissed on other grounds.” Cadmus v. Frederick Cty, Sheriff’s Office, No.

5:15-cv-00053, 2016 U.S. Dist. LEXIS 127988, at *21 (W.D. Va. Sep. 20, 2016) (quoting

Gillespie, 629 F. 2d at 642); see also Liberty Media Holdings v. Colo. Members of Swarm, No. 11-

cv-01170-WJM-KMT, 2011 U.S. Dist. LEXIS 53307, at *1-2 (D. Colo. May 12, 2011), citing

Civiletti, 629 F.2d at 642 ; see also Tracfone Wireless, Inc., 642 F. Supp. 2d 1354, 1361 (S.D. Fla.

2009) (recognizing that plaintiffs should be given an opportunity to discover a defendant’s true

identity in denying a motion to strike improper allegations); McGip v. Doe, No. 11 C 2887, 2011

U.S. Dist. LEXIS 50069, at *2 (N.D. Ill. May 10, 2011) (authorizing pre-Rule 26(f) discovery to

permit plaintiff to issue subpoenas to ascertain the true identities of defendants engaged in

anonymous online activity). See also, Arista Records LLC v. Does 1-19, 551 F. Supp. 2d 1, 6-7

(D.D.C. 2008), and the cases cited therein, noting the “overwhelming” number of cases where

copyright infringement plaintiffs sought to identify “Doe” defendants and courts “routinely

applied” the good cause standard to permit discovery.




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         Indeed, the Federal Circuit Courts of Appeal have unanimously approved the procedure of suing

John Doe defendants and then using discovery to identify such defendants. For example, the First Circuit

held in Penalbert-Rosa v. Fortuno-Burset, 631 F.3d 592 (1st Cir. 2011) that “[a] plaintiff who is unaware

of the identity of the person who wronged her can . . . proceed against a ‘John Doe’ . . . when discovery is

likely to reveal the identity of the correct defendant.” See also David v. Kelly, 160 F.3d 917, 921 (2d Cir.

1998) (“Courts have rejected the dismissal of suits against unnamed defendants . . . until the plaintiff has

had some opportunity for discovery to learn the identities.”). Accord Blakeslee v. Clinton County, 336

Fed.Appx. 248, 250 (3d Cir. 2009); Chidi Njoku v. Unknown Special Unit Staff; 217 F.3d 840 (4th Cir.

2000); Green v. Doe, 260 Fed.Appx. 717, 719 (5th Cir. 2007); Brown v. Owens Corning Inv. Review

Committee, 622 F.3d 564, 572 (6th Cir. 2010); Maclin v. Paulson, 627 F.2d 83, 87 (7th Cir. 1980); Munz

v. Parr, 758 F.2d 1254, 1257 (8th Cir. 1985); Young v. Transportation Deputy Sheriff, 340 Fed Appx. 368

(9th Cir. 2009); Krueger v. Doe, 162 F.3d 1173, (10th Cir. 1998); Dean v. Barber, 951 F.2d 1210, 1215

(11th Cir. 1992).

         Courts have held that there is good cause to issue pre-Rule 26(f) discovery in factually

similar cases, involving anonymous internet accounts. See Qwest Communs. Int’l, Inc. v.

Worldquest Networks, Inc., 213 F.R.D. 418, 419 (D. Colo. 2003), citing Energetics Systems Corp.

v. Advanced Cerametrics, Inc., No. 95-7956, 1996 U.S. Dist. LEXIS 2830, *2 (E.D. Pa. Mar. 5,

1996).

         In this case, Plaintiff has demonstrated good cause by properly pleading a cause of action

for breach of contract. (Doc. No. 1 at ¶¶ 17-25; 34-39) (establishing that Plaintiff has agreements

with Defendants, in which they agree not to sell Pandora products to Unauthorized Resellers, yet

Defendants have sold and continue to sell Pandora products to Unauthorized Resellers, and that

those sales have caused damage to Plaintiff).) Obviously, without learning the Defendants’ true

identities, Plaintiff will not be able to serve the Defendants with process and proceed with this




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case. Plaintiff’s important contractual rights are at issue in this suit and, therefore, the equities

should weigh heavily in favor of preserving Plaintiff’s rights.

        Moreover, there is no other way to obtain the identities of Defendants selling to Woot other

than by obtaining the information from Woot, because Plaintiff has already exhausted all other

methods. Specifically, Plaintiff has already performed test purchases of products, engaged in various

subscription and open source services to attempt to identify Defendants, and issued subpoenas to

Amazon to attempt to identify Defendants. (Doc. No. 1 at ¶ 28; Motley Decl. at ¶¶ 3-4.)4 Through

these efforts, PANDORA recently identified several significant PANDORA Dealers diverting products

to some, but not all, of the Unauthorized Resellers PANDORA has identified. (Doc. No. 1 at ¶ 29;

Motley Decl. at ¶ 5.) Plaintiff is left without any other options to identify Defendants. (Motley

Decl. at ¶ 6.)

        Finally, Defendants do not have a legitimate interest in remaining anonymous and Plaintiff

has a right to enforce its contracts. Defendants are parties to contracts with PANDORA, which

explicitly prohibit them from selling PANDORA products to Unauthorized Resellers. Defendants

have no legitimate expectation of privacy to information they voluntarily disclosed to a contracting

party—much less to information about their distribution of the Pandora products in question

without permission and in breach of their contracts. See, e.g., Interscope Records v. Does 114,

558 F.Supp.2d 1176, 1178 (D. Kan. 2008) (a person using the Internet to distribute or download

copyrighted music without authorization is not entitled to have their identity protected from

disclosure under the First Amendment); Guest v. Leis, 255 F.3d 325, 336 (6th Cir. 2001)

(“computer users do not have a legitimate expectation of privacy in their subscriber information

because they have conveyed it to another person—the system operator”); Nelson v. Allstate Ins.


4
 The Declaration of Martha Brewer Motley (“Motley Decl.”) is attached as Exhibit 2. Ms. Motley is one of
Pandora’s outside counsel responsible for the team investigating the true identity of the Pandora Dealers.


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Co., Case No. 92-2309-JWL, 1993 U.S. Dist. LEXIS 4628, at *13 (D. Kan. Mar. 8, 1993) (finding

that plaintiff had no reasonable expectation of privacy arising out of a settlement agreement when

the confidentiality provision unambiguously protected the defendant only). Since identifying the

Defendants by name is necessary for Plaintiff to advance the asserted claims, and Defendants do

not have a countervailing right to remain anonymous, Plaintiff has established good cause.

III.   CONCLUSION

       For the foregoing reasons, this Court should grant leave to Plaintiff to issue a Rule 45

subpoena to Woot Service LLC to uncover Defendants’ true identities.



                                                      Respectfully submitted,


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